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 3
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 5
     Attorneys for Plaintiff
 6   MIGUEL HERNANDEZ
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10   MIGUEL HERNANDEZ,                                  Case No.: 2:23-cv-00836 SVW (Ex)
11
                  Plaintiff,
12                                                      NOTICE OF VOLUNTARY
           vs.                                          DISMISSAL OF ENTIRE ACTION
13                                                      WITH PREJUDICE
14   CS PARTNERS, LLC; and DOES 1 to 10,
15                Defendants.

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17
           PLEASE TAKE NOTICE that MIGUEL HERNANDEZ (“Plaintiff”) pursuant to
18
     Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
19
     action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
20
     provides in relevant part:
21
           (a) Voluntary Dismissal.
22
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
23
                         and any applicable federal statute, the plaintiff may dismiss an action
24
                         without a court order by filing:
25
26                       (i)      A notice of dismissal before the opposing party serves either an

27                                answer or a motion for summary judgment.
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          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
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 1   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3   Court.
 4
 5   DATED: June 23, 2023                  SO. CAL. EQUAL ACCESS GROUP
 6
 7
 8                                         By:     /s/ Jason J. Kim
                                                 Jason J. Kim, Esq.
 9                                               Attorneys for Plaintiff
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          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
